Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 1 of 23 Page ID #:348

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        Los Angeles, California 90017
      6 (213)  612-8900 (telephone)
        (213) 612-3773 (facsimile)
      7 Attorneys for Defendant
      8 Solomon Bier
      9
     10                      UNITED STATES DISTRICT COURT

     11                 THE CENTRAL DISTRICT OF CALIFORNIA

     12
        FITSPOT VENTURES, LLC, a Delaware          Case No. 2:15-cv-06454-ODW(RAOx)
     13 limited liability company,                 Hon. Otis D. Wright, II
     14                    Plaintiff,              DECLARATION OF SOLOMON
                                                   BIER
     15        v.
                                                   [Filed concurrently with Opposition
     16                                            to Ex Parte and Declaration of K.
        SOLOMON BIER, an individual; and           Luan Tran]
     17 DOES 1-25, inclusive,
                         Defendants.
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                                                          DECLARATION OF SOLOMON BIER
Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 2 of 23 Page ID #:349




        1   I, Solomon Bier, declare as follows:
        2         1.     I make this declaration in opposition to Plaintiff Fitspot Ventures,
        3   LLC's ("Fitspot" or "Plaintiff") ex parte application for the issuance of a
        4   temporary restraining order. I am the co-founder of Fitspot and the defendant
        5   named in the case entitled Fitspot Ventures, LLC v. Solomon Bier, et al., United
        6   States District Court Case No. 2:15-cv-06454-ODW-RAO. The matters set forth

        7   herein are known to me of my own personal knowledge, unless set forth on
        8   information and belief in which case I am so informed and believe the matters to

        9   be true. If called as a witness, I could and would testify to the matters set forth
       10   herein.

       11         2.     I have reviewed the Complaint and all other filings in this action,
       12   including Plaintiff^s ex parte application and the supporting declarations. There
       13   are a number of false and misleading statements and representations contained in
       14   Plaintiffs papers.
       15         3.     In paragraph 8 of Jonathan Cohn's "Cohn" declaration ("Cohn
       16   Decl."), Cohn attests that after execution of a "Confidentiality and Intellectual
       17   Property Assignment Agreement" ("Confidentiality Agreement") and a Restricted
       18   Unit Agreement ("RU Agreement"), "[w]ith my input, Mr. Bier began developing
       19   and writing the 'code' that allows the App to function." Cohn's attestation is false
       20   and misleading as to the timeline of my development of the code. On or about
       21   November 14,2014, Jonathan Cohn ("Cohn") reached out to me via telephone
       22   about the possibility of me joining him to develop Fitspot. At the time, Fitspot was
       23   just an undeveloped idea, with not a single line of written code and no customers.
       24   Cohn informed me he did not have the technical know-how or expertise required to
       25   build the app. I informed Cohn that I had already been developing an algorithm
       26   that could be useful to Fitspot. Cohn then asked me to join him as a "Technical
       27   Co-Founder" of Fitspot and develop the app. I agreed. Between the end of
       28   November and January 14,2015,1 developed my algorithm and built an iOS app



                                                                     DECLARATION OF SOLOMON BIER
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        1   and backend code.

        2         4.     In Paragraph 9 of Cohn's sworn declaration, Cohn attests that "Mr.
        3   Bier, while acting within the scope of the Agreements, created accounts with at
        4   least two such providers: (1) Heroku; and (2) Github." That is false. I created my
        5   own accounts under my name with both Heroku and Github in early 2014, well
        6   before I had any involvement with Fitspot.
        7         5.     In paragraph 10 of Cohn's sworn declaration, Cohn attests that "On
        8   August 6,2015, Mr. Bier accessed the Company's Heroku account and
        9   intentionally disabled communication between Plaintiff's Heroku and Slack
       10   accounts." Again, this is false. After I was "terminated", I notified Cohn that I
       11   would be seeking legal counsel. Cohn then immediately deleted my company and
       12   email accounts, removed me from my personal Apple account (revoking the
       13   developer account I paid for) and signed me out of all third-party libraries
       14   (unrelated to Fitspot) including Localystics and Fabrics. In taking the above steps,
       15   Cohn inadvertently deleted important features, including Push notifications as well
       16   as Slack web-hooks that were tied to my email account. Cohn now seeks to blame
       17   me for his own errors.

       18         6.     I have not altered the code at issue in this litigation that is stored on
       19   my GitHub and Heroku accounts. Attached as Exhibit A is a true and correct
       20   document showing that I have not engaged in any alteration of any code that may
       21   be at issue in this litigation. The document consists of the history of any
       22   alterations as to Code that I created - the last of which occurred prior to my
       23   "termination". Any editing of any kind (even deleting one comma) would show up
       24   on this activity feed with the caption "DEPLOYED". I printed this document on
       25   August 26, 2015, and it shows that the last alteration occurred on August 3, 2015,
       26   two days prior to my alleged termination on August 5, 2015 and well before any
       27   TRO issued. I have not and do not intend to engage in any use, deletion, or
       28   alteration of such code. Additionally, as of August 27,2015,1 received



                                                                     DECLARATION OF SOLOMON BIER
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        1   notification fi-om Github that my account had been frozen in light of the pending
        2   litigation. Attached as Exhibit B is a true and correct copy of this notification.
        3   Furthermore, on or about the same date, my prior counsel Dan Ho informed me
        4   that he was notified by Heroku that my account had been frozen in light of this
        5   litigation. Therefore, I have no access to these accounts.
        6         7.     Since my "termination" on August 5,2015, Fitspot has not suffered
        7   any "irreparable harm." Fitspot's daily average revenue has, in fact, increased
        8   substantially since my termination. I know this because of research that I have
        9   performed on the site www.braintree.com ("Braintree"). Attached hereto as Exhibit
       10   C is a chart I printed off of Braintree prior to the ruling on the TRO by the state
       11   court that shows the daily revenue that Fitspot has obtained since my
       12   "termination," which shows an approximate increase of 80% in average daily
       13   revenue. It is clear that Fitspot continues to function at a high level.
       14         8.     Cohn asserts in paragraph 14 of his declaration that Fitspot has been
       15   unable to (1) to determine if and when users are booking training sessions; (2)
       16   unable to pay trainers; (3) unable to repair glitches in the code; and (4) unable to
       17   modify any aspect of the app. This is not correct. As an initial matter, Fitspot's
       18   users and trainers are able to communicate via Twillio, which is a SMS (Text
       19   Message) and voice service where Fitspot and Cohn are able to call and text their
       20   user base as well as monitor all communication between any Fitspot customer or
       21   trainer/employee. I know this because as the only technical person in Fitspot, I
       22   helped set up this method of communication. Furthermore, Fitspot has continued
       23   to send automatic notifications to my email account every time a training session is
       24   booked and/or paid for. I also know, based on my technical role in the company,
       25   that other executives including Cohn would have the ability to receive the same
       26   notifications. Fitspot sends automated messages to my personal gmail account via
       27   contact@fitspotapp.com, an auto email reply set up by Fitspot which I have no
       28   access to.




                                                                      DECLARATION OF SOLOMON BIER
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      1         9.     As further evidence that Fitspot's claim that its business "is in virtual
      2   paralysis," is false, I am aware, based on my receipt of these notifications, that
      3   between the time Fitspot submitted its application for a TRO (yesterday) and
      4   today, Fitspot has communicated with, collected payment, and trained thirteen
      5   clients via the app/system they claim is not functioning. This number may be
      6   higher as not all emails make it through my spam filter. This constitutes nearly one
      7   customer per hour. Furthermore, based on my receipt and review of these
      8   notifications, I am aware that before, during, and after the initial state court hearing
      9   on the TRO, Cohn and Sammy Courtright ("Courtright"), have personally trained
     10   users, collected revenue, and been paid out, all while claiming that Fitspot is not
     11   functioning. For example, at around the same time Fitspot's attorney was in state
     12   court on August 14,2015 arguing for irreparable harm, including an inability to
     13   locate customers, collect payment, and pay trainers, Cohn accessed his app,
     14   contacted a user, and collected payment all via the app Fitspot claimed was not
     15   functioning. Attached as Exhibit D are true and correct copies of automatic
     16   notifications I have received.

     17         10.    The sorts of glitches Plaintiff complains of including "failed push
     18   notifications" are common errors from Apple and existed prior to August 6,2015.
     19   Furthermore, the asserted failed password reset functionality, was not a result of
     20   any code or error but customer error.
     21         11.    Contrary to Plaintiffs assertions, I have fully complied with the State
     22   Court TRO, a true and correct copy of which is attached hereto as Exhibit E.
     23         12.    I believe that Fitspot, through its CEO, Jonathan Cohn, has planned
     24   from the outset to improperly exploit code I began to create prior to my
     25   involvement with Fitspot, and developed prior to the execution of the agreements
     26   Plaintiff relies on in its Complaint. I believe Fitspot and Cohn have engaged in
     27   fi-aud and deceit and I plan, shortly, to amend my Answer to assert claims for, inter
     28   alia, (1) Intentional Misrepresentation; (2) Fraudulent Inducement; (3)



                                                                   DECLARATION OF SOLOMON BIER
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        1   Concealment; (4) Rescission; (5) Breach of Implied Partnership Agreement; (6)
        2   Unjust Enrichment; (7) Violation of Business and Professions Code section 17200;
        3   and (8) Copyright Infringement. I believe Cohn is attempting to circumvent my
        4   due process rights and take my code by painting me as a villain and grossly
        5   exaggerating the urgency that Fitspot faces in order to obtain a preliminary
        6   injunction, rather than a trial on the merits.
        7         I declare under penalty ofperjury under the laws of the United States of
        8   America and the State of California that the foregoing is true and correct and this
        9   declaration was executed this 27th day of August, 2015, in Los Angeles,
       10   California.

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                                                                           Solomon Bier
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                                                                   DECLARATION OF SOLOMON BIER
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                         EXHIBIT A
                                    Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 8 of 23 Page ID #:355

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Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 9 of 23 Page ID #:356




                         EXHIBIT B
        Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 10 of 23 Page ID
                                         #:357

Joe Tuffaha

From:                            Solomon Bier <solomon.bier@gmail.com >
Sent:                            Wednesday, August 26,2015 4:54 PM
To:                             Joe Tuffaha; Luan Iran
Subject:                         Fwd: GitHub Account Suspension
Attachments:                     8-14-15 Order Re Plaintiff's TRO.PDF



Github suspension

         Forwarded message
From: Jesse Geraci (GitHub Staff) <support@github.com>
Date: Mon, Aug 17,2015 at 5:00 PM
Subject: Re: GitHub Account Suspension
To: solomon.bier@gmail.com
Cc: Maurice Pessah <maurice@Dessahgroup.com>



Hi Solomon —

We recently received the attached Temporary Restraining Order regarding certain source code and/or data
relating to the company, FitSpot, that is apparently accessible via your GitHub account, "SolomonBier". In light
of the TRO's prohibitions on your continued access to the FitSpot source code and/or data, we have suspended
access to your account pending further Orders from the Court.

Please contact us immediately if you believe this is in error, or if you have any further questions.

Best,
Jesse


GitHub Legal
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                                 #:358




                      EXHIBIT C
Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 12 of 23 Page ID
                                 #:359




 FitSpot
                      8/7                                   Today
Ht      «• n $1*367
 Termination                                              $1,053
      Date
      $745




     80% increase in daily revenue since' termination"
Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 13 of 23 Page ID
                                 #:360




                      EXHIBIT D
 Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 14 of 23 Page ID
                                  #:361




                                     fit
                              Refferal Bonus




                          Hi enrypt me,
                    Thank you for referring Sammy Courtrightl




You've earned $20.0 Fitspot credit!
                         Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 15 of 23 Page ID
                                                          #:362




You've earned Fitspot Credits!

     Fttspot                                                                                             Aug 24 (2 days ago)
     Refferal Bonus Hi enrypt me, Thank yau for referring Sammy Courtrightf YcuVe.


 9   Fttspot contact@fitspotapp.com yjg sendgrid.me                                          Aug 24 (2 days ago)
     to me »




                                                               Refferal Bonus




                                                            Hi enrypt me,
                                                         Thank you for referring Jon Cohn!




                            You've earned $24.73 Fitspot creditl
                   Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 16 of 23 Page ID
                                                    #:363




You've earned Fitspot Credits!

     Fitspot contact@fitspotapp.com yja sendgrid.me                                               Aug 25 (1 day ago)
     to me »




                                                                Refferal Bonus




                                                            Hi enrypt me,
                                                      Thank you for referring Sammy Courtright!




                            You've earned $20.0 Fitspot credit!
                       Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 17 of 23 Page ID
                                                        #:364




    FItspot                                                                                       7:06 AM (14 hours ago)
    Refferal Bonus Hi enrypt me, Thank you for refeaing Matthew Pond! You've ear...


    Fllspot                                                                                       8:51 AM (12 hours ago)
    Refferal Bonus Hi enrypt me, Thank you for refen-ing Damian White! You've ear...


    Fllspot                                                                                       8:57 AM (12 hours ago)
    RefFeral Bonus Hi enrypt me. Thank you for referring Cameron Silver! You've e...


0   FItspot                                                                                       11:51 AM (9 hours ago)
    Refferal Bonus Hi enrypt me. Thank you for referring Nicholas Gerkeni You've ...


    FItspot                                                                                       12:05 PM (9 hours ago)
    Refferal Bonus Hi enrypt me. Thank you for refenring Lauren SivanI You've ear...
           Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 18 of 23 Page ID
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to me •»




                                        Refferal Bonus




                                     Hi enrypt me,
                                 Thank you for referring Brian Bloomi




           You've earned $28.36 Fitspot credit!
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                                 #:366




                       EXHIBIT E
Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 20 of 23 Page ID
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          4                                                            ShanfaCatlf)
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                                                                                    AtuiottB
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       8
                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
       9
                                     COUNTY OF LOS ANGELES - CENTRAL DISTRICT
      10

      11
              FTTSPOT VENTURES. LLC. a Delaware              Case No: BC5909S2
      12
              limited liabiliiy company,                     Assig^e<J to Hon. Barbara A. Meiers
     13                                                      Dept. 12
                     Plaintiff,
     14                                                      (PRePOaED) ORDER RE PLAINTIFF
                                      V.
                                                             FITSPOT VENTURES. LLC'S EXPARTE
     15                                                      APPUCATION FOR: (1) A TEMPORARY
              SOLOMON BIER, an individual; and DOES l-
              25, inclusive.                                 RESTRAINING ORDER AND: (2) ORDER
     16
                                                             TO SHOW CAUSE RE: PRELIMINARY
     17              II>efendants.                           INJUNCTION

     18
                                                             Hearing Date: Aognst 14,2015
     19
                                                             Hearing Time: 8:30 a^.
     20
                                                             Hearing Dept^ 85
                                                             Hearing Jodge: Hoo. James C. Chaflant
     21
                                                             Complaint Filed: August 12, 2015
     22                                                      Trial Date: None Set

     23

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     28                                                  I
              IWOTOSrol ORDER RE PLAINTIFF'S EX PARTE APPUCATION FOR:(I) A TEMPORARY RESTRAINING
                          ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY TNAJNCTION
Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 21 of 23 Page ID
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                  Plaintiff Fitspol Ventures LLC's ("Plaintiff") ex parte Application for a Temporary
      2   Restraining Order and Order to Show Cause Re Preliminary Injunction came for hearing before this
      3   Court on August 14. 2015 at 8:30 a.m. in Department 85 of the Superior Court of ihe State of
      4   California. County of Los Angeles, the Honorable James C. Chalfant presiding. After full
      5   consideration of the complainl filed in this action, the supporting papers filed in connection with
      6   Plaintiffs Applic^ion for a TRO, Defendants opposition papers, and having heard argument of
      7   counsel, itappears to the satisfaction of this Court that thisisa proper case for granthig an order to
      8   show cause for a preliminaiy injunction and a temporary restniinmg order, and that, unless the
      9   temporary retraining order fs^yed for by Plaintiffbe granted, great or irreparable harm will result
     10   to Plaintiff before the maoer can be heard on regularly noticed motion.
     11          THEREFORE, FT IS HEREBY ORDERED diat, pending the hearing and determination of
     12   the order to show cause, the above-named Defendant^ and all persons acting in concert or
     13   participating with them, are restrained and enjolaed from engaging m or performing, directly or
     14   indirrctly, any and all of the following acts:
     15         1. Transactingon or accessing anv of code repository accounts used or at one time used by
     16             Defendant, ^housd source code for or in relation to PlaintifTs busmess known as
     17             "FitspoL** This includes the Heroku and Github accounts to which Defendam has had
     18             exclusive access since his sqiaration as Technical Co-Founder of Plaintiff's company on

     19             Augusts. 20 IS.:

     20         2. Using, disseminating, deleting or iaany way altering or modifying source codedatastored
     21             in die code repository accounts (including, but not limited to. Github and Heroku
     22             accounts) that house any data, information or intellectual ptxjpeny related to Plaintiff, its
     23             mobile aj^lication known as "Fitspot," and any other aspects of Plaintiff's business
     24             activities;

     25         3. Using, disseminating, accessmg, deleting or In any wayaltering or modifying PlaintifTs
     26             customer data including, but not limited to, customer names, contact information (Le.,
     27

     28                                              I
          [aftOPOOCDl ORDER RE PLAINTIFFS EX PARTE APPLICATION FOR: (I) A TEMPORARY RESTRAINING
                      ORDER; AND (2) AN ORDER TO SHOW C/\SE RE: PREUMINARY INJUNCTION
Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 22 of 23 Page ID
                                 #:369




      1               emails, phone number and address^}, lucations, payment information and number of
      2               sessionsbooked usingthe Rtspot downloadable mobile application;
      3          4. Using, dissem inating, accessing, deleting or in aiy way altering or modifying Plaintiffs
      4               HqtH relating to fitness trainees including, but not limited to. trainer names, locations,
      5               payment information and number of sessions booked using the Fitspot downloadable
      6               mobile application;

      7          5. Obtaining, using, retaining, accessing, disclosing or disseminating Plaintiffs
      8               conGdential, profHietary and/or trade secret information stored on any movable memory
      9               device in Defendant's possession, custody or control, including, but not limited to,
     10               external hard drives and flash drives

     li    IT IS FURTHER ORDERED iliiil.                  ilia l»iniiii£ nni1 daiwiiiinntinn iif llii mill nil ilimr
     12   j-aiitg the above-named DefendmLan^l persons action iocoi^t oriortici^ng with him, stiatt
     13    itHun.UliHLlj»uiiJ IIitliuuNicla^deliver the following toTlaintiffs counsel's office at 10100 Santa
     14    Monica Blvd., Suite300. LosAngeles,CA 90067) ^ it                                                       ^^
     15          1. The company-issued credit card that was given to Defendant while he was rendering
     16               services for Plaintiffand acting as an active shareholder of Plaintiffs business;

     17          2. The company-issued parking pass that was given to Defendant while he was rendering
     18               services for Plaintiffand acting as Technical Co-FounderofPlaintiffs bus'mess;
     19          3.   The most recent and active access credentials to the Github and Heroku accounts that

     20               Defendant used in connection with Plaintiffs business up to and including August 5,

     21               2015;

     22          4.   All rfata, source code and programming the Defendantdeveloped for F'ltspot while acting

     23               as Fitspot*s Technical Co-Founder;
     24          5.   All data that was at one time stored on, or erased from, the Mac Book Pro laptop

     25               computer that Defendant used during his timeas "Technical Co-Founder" of Fitspot;
     26         6.    All data that was transferred, moved or sent Oom the Mac Book Pro laptop computer

     27               issued by Plaintiff to Defendant while Defendant was acting as Techmcal Co-Founder

     2S                                                       3
          [ItCOi UiLUlORDER RE PLAINTIFFS EX PARTE APPLICATION FOR; (I»A TEMPORARY RESTRAINING
                       ORDER; AND (2)AN ORDER TO SHOW CASE RE; PRELIMINARY IWUNGTION
Case 2:15-cv-06454-ODW-RAO Document 15-1 Filed 08/27/15 Page 23 of 23 Page ID
                                 #:370




                            of Piatmifl^ to the hard drive that was referenced in Defendant's coimsers email to

          2                 Plaintiffs coonKi on Augtst 11.2015;

          3          6. AU of Plaintiff's customer data including, but not limits to. customer names, contact
          4                rnfbrtnation (i.e., emails, phone number and addresses), locations, payment information

          5                and number ofsessions booked using the Fitspot downloadable mobile application;

          6          7. AU ofPlainiiffs confidential, proprietary and/or trade secret mfbrmation, and intellectual

          7                property developed, obtained, accessed or kept by Defendant by virtue of his relationship
          8                with Fitspot as its Technical Co-Foundcr.

       9

      10      rr IS FURTHER ORDERED that the                                    «»pr»^r <9 Department        of this

      11      court, located at 111 N. Hill Street, Los Angela CA 90012. on ^ /?///*fPATE). at
     12       (TIME), or as soon thereafteras the mattermay be heard, then and th^ to show cause, ifDefendant,

     13       or anyone acting in concert with him, has any reason why he should be enjoined from, and required
     14       to perform, die above described acts.
     13             Plaintiff is ordered to give notice of this order to show ^use on Defendam in the Tollowing
     16       time and manner                  rlulir                                    . Proof of Donijta muot-fcc

     17       rf^lt'T~"^    'hr r—•*'—inr illrinn fhr OVf                           —>The partis shall adhere to

     18       the following briefing schedule:.

     19
                                ^            r/tf
     20

     21

     22       rris SO ORDERED.

     23
              Dale: August 14,2015
     24
                                                                        HON. JAMES CHALFXNT
     25
                                                                        Judge ofthe Supaior Court

     26

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              piriOPOaOPI ORDER RE PLAINTIFF'S EX PARTE APPUCATION FOR: (I) A TEMPORARY RESTRAINING
                         ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION
